
*221OPINION.
McMahon :
The petitioner contends that he is entitled to a deduction from his gross income of the fiscal year ended March 31, 1925, of the amount of $26,250, the full face value of promissory notes which he executed to Potter and Maxfield in order to induce them to cancel the contract whereby they were entitled to a part of the yearly profits from the Fashion Beaux Art Building. These notes were executed about September, 1924, and were payable at intervals of one year after that date. There is no evidence to show what amount, if any, was paid by petitioner on these notes in the year in controversy. Nor is there any evidence to show whether petitioner operated upon the cash receipts and disbursements basis or upon the accrual basis. We must, therefore, assume that he operated upon the former basis.
We have heretofore held that the mere giving of notes by a person operating upon the cash receipts and disbursements basis does not constitute disbursements, and that the amount of the notes is not deductible as a business expense. John Hoskins, 7 B. T. A. 299, and *222Elmer A. Clark, 14 B. T. A. 65. Clearly, petitioner has failed to prove his right to the deduction claimed or any part thereof. See also A. James Eckert, 17 B. T. A. 263, affirmed, 42 Fed. (2d) 158.

Judgment will be entered for the respondent.

